    Case 19-00263-dd          Doc 11      Filed 01/17/19 Entered 01/17/19 10:15:13                 Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA
IN THE MATTER OF:                                               Case No. 19-00263-dd
APRIL LEANN JACKSON

SS No.: XXX-XX-7208
                                          ORDER TO PAY TRUSTEE
    Upon representation of the trustee, or other interested party, the court finds that:

    The above named debtor has pending in this court a proceeding for a wage earner's plan under chapter 13
of the bankruptcy code and pursuant of the provisions of said statute and of the debtor's plan, the debtor has
submitted all future earnings and wages to the exclusive jurisdiction of this court for all the purpose of completing
the plan; and
    That under the provisions of Section 1325(b) of the Bankruptcy Code, 11 USC Sec. 1325(b), any entity
from whom the debtor receives income may be required, upon the order of this court, to pay over all or any
part of such income to the trustee and that such order is necessary and proper.
    Now, therefore, IT IS ORDERED, that, until further order of this court, the following entity

SC COMPTROLLER GENERAL *
1200 SENATE ST #305
ATTN Garnishments
COLUMBIA, SC 29201

shall submit the sum of $1,509.00 per month through payroll deduction in equal installments according to the
number of pay periods in a given month; and to deduct this amount for 60 months including any period for which
the debtor receives periodic, or lump sum payment for vacation, termination, disability, or other benefits and to
remit the sums so deducted to the trustee:

                                    Pamela Simmons-Beasley, Chapter 13 Trustee
                                                PO Box 63339
                                          Charlotte, NC 28263-3339

    IT IS FURTHER ORDERED that the employer shall notify the trustee if the employment of the debtor is
terminated.
    IT IS FURTHER ORDERED that this Order supersedes any previous Orders, except previous Family
Court support orders which shall continue in full force and effect.




      FILED BY THE COURT
          01/17/2019




                                                             David R. Duncan
                                                             Chief US Bankruptcy Court Judge
                                                             District of South Carolina


       Entered: 01/17/2019
